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Appendix C – Proposed Voir Dire


General/Introduction


   1. Plaintiff #1 in this case is Ruby Freeman, also known as “Lady Ruby.” Do you know or
      have you heard of Ms. Freeman?

   2. Plaintiff #2 in this case is Wandrea “Shaye” Moss. Do you know or have you heard of Ms.
      Moss?

   3. The Plaintiffs in this case are represented by Michael Gottlieb, Meryl Governski, John
      Langford, and Von DuBose. Do you know or have you heard of any of these attorneys?

   4. Do you have any connection with Willkie Farr & Gallagher LLP, Protect Democracy or
      DuBose Miller LLC?

   5. The Defendant in this case is Rudy Giuliani. Do you know or have you heard of Mr.
      Giuliani?

   6. The Defendant in this case is represented by Joseph Sibley. Do you know or have you
      heard of Mr. Sibley?

   7. Do you have any connection with Camara & Sibley LLP?

   8. You may hear testimony from or about a number of people. The attorneys will now identify
      for you the names of people who may testify or about whom you may hear testimony.
      Listen carefully. If you recognize or know any of the people named, please mark your
      paper beside No. [X].

   9. Based on the information I have given you about this case, have you heard or read about
      this case before coming to court today; or, do you believe you know anything about the
      facts and circumstances of this case?

Ability to Perform Juror Responsibilities

   10. The lawyers predict that the presentation of evidence in this trial should last for about [X]
       days through [date], but it could run longer. The jury will sit Monday through Friday,
       generally from about [X] a.m. to [Y] p.m., although the starting and ending times may vary.
       The length of the jury deliberations following the presentation of evidence at trial will be
       determined by the jury itself. Do you have an urgent or extremely important matter to
       attend to in the next [X] weeks, such that you can be faced with a hardship if selected for
       the jury in this case?

   11. Do you have any vision or hearing problems, or any other physical or medical problems,
       that might interfere with your ability to hear or understand what the witnesses say in this
       case or to give your full attention to this case?
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   12. Have you ever been involved as a plaintiff or defendant or as a witness in another case,
       whether civil, criminal, or administrative?

   13. Have you, any close family member, or close friend ever worked as a lawyer, received
       legal training, or been employed by a lawyer?

   14. Do you have any moral, religious, philosophical, or other beliefs that might affect your
       ability to render a judgment in this case based solely upon the evidence presented during
       trial?

   15. Do you have personal feelings about the use of punitive damages to punish or deter
       wrongful behavior that is proven in a court of law?

   16. This is a case involving claims of defamation and intentional infliction of emotional
       distress. Do you have any personal feelings about either type of claim that might affect
       your ability to render a fair and impartial judgment on such claims?

   17. If you have served as a juror before in a civil or criminal case, is there anything about your
       experience as a juror that might affect your ability to serve fairly and impartially in this
       trial?

Case-Specific

   18. Have you earned a college degree?

   19. Do you have any children?

   20. Do you have any experience working in the communications field, including but not
       limited to working for any social media entity?

   21. Have you, or any close family member or close friend, worked for Mr. Giuliani, or ever
       had any connection with the Mayor’s Office of New York?

   22. Do you or have you ever followed Mr. Giuliani on social media, including the Twitter/X
       handle @RudyGiuliani?

   23. Do you have any connection with Donald Trump’s 2016 or 2020 presidential campaigns?

   24. Do you believe that Joseph R. Biden’s election as president of the United States in 2020
       was illegitimate?

   25. Do you rely upon any of the following sources for news: Fox News, OAN, Newsmax,
       Gateway Pundit, or the Epoch Times?

   26. Have you ever listened to or viewed any of the following podcasts, radio shows, or
       television shows: Common Sense, Uncovering the Truth, The Rudy Giuliani Show,
       America’s Mayor Live, America’s Mayor Confidential, The Benny Show, The Joe Pags
       Show, Steve Bannon’s War Room, the Greg Kelly Show, or the Andrew Giuliani Show?


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   27. Have you ever used or are you familiar with the phrase “Let’s Go Brandon”?

   28. Have you ever used or are you familiar with the term or hashtag known as “WWG1WGA”?

   29. You have previously been read a list of witnesses to be called in this case. Do you feel that
       a witness’s status as a current or former public figure or elected official would affect how
       much or how little you credit their testimony?

Concluding Questions

   30. If selected, each juror must hear the evidence in this case and apply the law that I give you,
       without being influenced in your decision by passion or prejudice for or against the
       plaintiffs or the defendant. Will you have any difficulty following this instruction?

   31. Is there anything else about the nature of this case or about any of the parties involved that
       would make it difficult for you to remain objective and to render a verdict based solely
       upon the evidence presented?

   32. Do you know of any reason, or has anything occurred to you during this questioning, that
       might in any way prevent you from following my instructions on the law and being
       completely fair and impartial as a juror in this case?




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